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10
                                 IN THE UNITED STATES DISTRICT COURT
11
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
12
                                            SACRAMENTO DIVISION
13

14

15   RALPH COLEMAN, et al.,                                  Case No. 2:90-cv-00520 KJM-DB (PC)

16                                             Plaintiffs,     DEFENDANTS’ CENSUS, WAITLISTS,
                                                               AND TRANSFER TIMELINES
17                    v.                                       COMPLIANCE REPORTS FOR
                                                               INPATIENT MENTAL HEALTH CARE
18
     GAVIN NEWSOM, et al.,
19
                                             Defendants.
20

21

22          Defendants California Department of Corrections and Rehabilitation (CDCR) and

23   Department of State Hospitals (DSH) file the attached reports capturing data concerning patient

24   census, waitlists, and compliance with transfer timelines for inpatient mental health care in

25   compliance with the Court’s October 13, 2015 order. (ECF No. 5367.) Attached is a letter from

26   CDCR and DSH enclosing the following census and inpatient reports, as modified by the Court’s

27   April 19, 2017 order (ECF No. 5610): (1) DSH CDCR Patient Census and Waitlist Report

28   (Exhibit A); (2) CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and
     [3419376.1]                                    1
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
     Case 2:90-cv-00520-KJM-DB Document 6342 Filed 10/15/19 Page 2 of 18


 1   Waitlist Report as of September 30, 2019; (3) CDCR Mental Health Crisis Bed Coleman Patient

 2   Census and Waitlist Report as of September 30, 2019 (Exhibit C); (4) Psychiatric Inpatient

 3   Programs Census Report as of 09/30/2019 (Exhibit D); (5) CDCR Inpatient Program Referrals:

 4   Compliance with Program Guide Timeframes for Acute and Intermediate Referrals Admitted or

 5   Closed in September 2019 (Exhibit E); and (6) DSH Psychiatric Inpatient Timelines Compliance

 6   Report, Patients Admitted September 1 through September 30, 2019 Who Waited Beyond

 7   Program Guide Timelines (Exhibit F).

 8             The current compliance reports at Exhibits E and F show that all patients admitted to

 9   inpatient programs in September 2019 transferred to inpatient care within Program Guide

10   timelines.

11     Dated: October 15, 2019                                    XAVIER BECERRA
                                                                  Attorney General of California
12                                                                ADRIANO HRVATIN
                                                                  Supervising Deputy Attorney General
13

14                                                                /S/ ELISE OWENS THORN
                                                                  Elise Owens Thorn
15                                                                Deputy Attorney General
                                                                  Attorneys for Defendants
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28
     [3419376.1]                                           2
       Defs.’ Census, Waitlists and Compliance Reports for Inpatient Mental Health Care (2:90-cv-00520 KJM-DB (PC))
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STATE OF CALIFORNIA — DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                       Page 3 of 18
                                                                EDMUND G. BROWN JR., GOVERNOR

DIVISION OF HEALTH CARE SERVICES
STATEWIDE MENTAL HEALTH PROGRAM
P.O. Box 588500
Elk Grove, CA 95758




        October 15, 2019

        Adriano Hrvatin, Esq.
        Elise Owens Thorn, Esq.
        California Department of Justice
        455 Golden Gate Avenue, Suite 11000
        San Francisco, CA 94102-5500

        RE:      DEFENDANTS’ CENSUS, WAITLISTS AND TRANSFER TIMELINES
                 COMPLIANCE REPORTS FOR INPATIENT MENTAL HEALTH CARE

        Dear Mr. Hrvatin and Ms. Thorn:
                The California Department of Corrections and Rehabilitation (CDCR) and the California
        Department of State Hospitals (DSH) submit their monthly information on patient census,
        referrals, waitlists, and transfer timeline compliance for inpatient mental health care.

               The DSH CDCR Patient Census and Waitlist Report, attached as Exhibit A, and the DSH
        Psychiatric Inpatient Timelines Compliance Report, Patients Admitted September 1 through
        September 30, 2019 Who Waited Beyond Program Guide Timelines, attached as Exhibit F, are
        based on data from the DSH Bed Utilization Management Report.

                The CDCR Psychiatric Inpatient Programs (PIP) Coleman Patient Census and Waitlist
        Report as of September 30, 2019 (Exhibit B), the CDCR Mental Health Crisis Bed Coleman
        Patient Census and Waitlist Report as of September 30, 2019 (Exhibit C), the Psychiatric Inpatient
        Programs Census Report as of 09/30/2019 (Exhibit D), and the CDCR Inpatient Program
        Referrals: Compliance with Program Guide Timeframes for Acute and Intermediate Referrals
        Admitted or Closed in September 2019 (Exhibit E), are generated using data from CDCR’s
        tracking software, the Referrals to Inpatient Programs Application.

                The reports attached as Exhibits A through D reflect data collected at a single point in
        time and, as a result, should not be used for purposes outside of those reports. The reports
        attached as Exhibits E and F are compliance reports from CDCR and DSH, both of which
        include requested compliance data for all referrals admitted to inpatient care in September 2019,
        for any inmate-patient who waited beyond the timelines specified in the Mental Health Services
        Delivery System Program Guide (2009 Revision) at 12-1-16. All patients admitted to inpatient
        programs in September 2019 transferred within Program Guide timelines.

        Sincerely,

        /s/ Eureka Daye                                              /s/ Stephanie Clendenin
        EUREKA DAYE                                                  STEPHANIE CLENDENIN
        Deputy Director (A)                                          Acting Director
        Statewide Mental Health Program                              Department of State Hospitals
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                     Exhibit A
 State of California                                                                                                                                                                                                                              GAVIN NEWSOM, Governor

 DIVISION OF HOSPITAL STRATEGIC PLANNING AND
                                         CaseIMPLEMENTATION
                                                 2:90-cv-00520-KJM-DB                                                    Document 6342 Filed 10/15/19 Page 5 of 18
 Patient Management Unit
 1600 Ninth Street, Room 420
 Sacramento, CA 95814



                                                                                                           DSH CDCR Patient Census and Waitlist Report
                                                                                                                            Data as of: 9/30/19
 Acute Care Patients
                                                                                                               Beds         Medical Isolation
      DSH Facility - Acute - Female       Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                  -                      0                     0                   0                  0                      0
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    0
                        Total                   -                      0                     0                   0                  0                      0                     0                      0                        0     (Includes 0 Waiting >10 Days)


 Intermediate Care Low Custody - Unlocked Dorms
                                                                                                               Beds         Medical Isolation
     DSH Facility - Unlocked Dorms        Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
                                                                                                             Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                   Atascadero                  256                   226                     5                   0                  0                      25           Referrals Pending                   Accepted Referrals
                       Coalinga                50                     48                     1                   0                  0                      1                 Review              CDCR Prison4              CDCR PIP5                41

                        Total                  306                   274                     6                   0                  0                      26                   16                     11                        14    (Includes 0 Waiting >30 Days)



 Intermediate Care Low Custody - Unlocked Dorms - Female

  DSH Facility - Unlocked Dorms -                                                                              Beds         Medical Isolation
                                          Bed Capacity             Census             Beds on Hold1                                                  Available Beds                                  Waitlist                               Total Patients
              Female                                                                                         Redlined2          Rooms3
                                                                                                                                                                                                                                          Awaiting Admission
                                                                                                                                                                        Referrals Pending               Accepted Referrals
                       Patton6                 30                     15                     1                   0                  0                      14
                                                                                                                                                                             Review              CDCR Prison4          CDCR PIP5                    2
                        Total                  30                     15                     1                   0                  0                      14                    1                      1                        0     (Includes 0 Waiting >30 Days)

 1
   Beds on hold are assigned for internal patient movement and patients waiting to transfer to DSH.
 2
   Redlined beds are temporarily unavailable due to repairs.
 3
   Medical isolation rooms are required for licensing and physically differ from the other housing in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
 4
   Direct referrals from a CDCR prison for patients awaiting transfer to DSH for inpatient treatment.
 5
     Referrals for patients currently receiving inpatient treatment within a CDCR PIP referred to DSH for stepdown of LRH or Level of Care change.
 6
     Beds at DSH-P are for female patients only.




Source: BUMMs                                                                                                                       1 of 1
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                     Exhibit B
                                                                                            CDCR Psychiatric Inpatient Programs (PIP)
                                                                                        Coleman Patient Census and Waitlist Report as of
                                                             Case       2:90-cv-00520-KJM-DB Document                6342 Filed 10/15/19
                                                                                                     September 30, 2019
                                                                                                                                                                                           Page 7 of 18

                                                                                                                            Medical
                                                                                           Beds            Beds                            Available
MALE ACUTE PIPs                                        Bed Capacity        Census                                          Isolation
                                                                                         Reserved1       Redlined2                           Beds              Pending             Accepted                              Total Acute Referrals
                                                                                                                            Rooms3                                                                    Total Waitlist
                                                                                                                                                              Referrals4           Referrals5                             Waiting > 10 Days
California Health Care Facility (CHCF)                       214             205             5                4                8                -8
California Medical Facility (CMF)                            218             188             4               23                0                3
Total                                                        432             393             9               27                8                -5                51                   8                    59                      0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE INTERMEDIATE LOCKED DORM PIP                      Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted
                                                                                         Reserved                                            Beds        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                            Rooms                                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF                                                          84              78              8                0                0                -2
Total                                                        84              78              8                0                0                -2                6                    4                    10                                                0

                                                                                                                            Medical
                                                                                           Beds                                            Available
MALE INTERMEDIATE HIGH CUSTODY PIPs                    Bed Capacity        Census                     Beds Redlined        Isolation
                                                                                         Reserved                                            Beds
                                                                                                                            Rooms
                                                                                                                                                                                                                                                    Total Intermediate
CHCF Single Cell                                             300             287              2               1               10                0                                  Accepted
                                                                                                                                                         Pending Referrals                            Total Waitlist                                 Referrals Waiting
CMF Multi Cell                                                70              58              6               0                0                6                                  Referrals
                                                                                                                                                                                                                                                        > 30 Days
CMF Single Cell                                               94              89              3               0                0                2
Salinas Valley State Prison (SVSP) Multi Cell                 44              42              2               0                0                0
SVSP Single Cell                                             202             191             13               0                0                -2
Total                                                        710             667             26               1               10                6                 73                   7                    80                                                0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
MALE CONDEMNED PIP                                     Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                              Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                              Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California State Prison, San Quentin                         34              31              0                0                0                3
Total                                                        34              31              0                0                0                3                 0                    0                    0                       0                         0

                                                                                                                            Medical
                                                                                           Beds                                            Available                                                                                                Total Intermediate
FEMALE HIGH CUSTODY PIP                                Bed Capacity        Census                     Beds Redlined        Isolation                                               Accepted                              Total Acute Referrals
                                                                                         Reserved                                            Beds        Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                                                            Rooms                                                  Referrals                              Waiting > 10 Days
                                                                                                                                                                                                                                                        > 30 Days
California Institution for Women                             45              35              1                0                0                9
Total                                                        45              35              1                0                0                9                 2                    0                    2                       0                         0

                                                                                                                            Medical                                                                                                                 Total Intermediate
                                                                                           Beds                                            Available                               Accepted                              Total Acute Referrals
                                                       Bed Capacity        Census                     Beds Redlined        Isolation                     Pending Referrals                            Total Waitlist                                 Referrals Waiting
                                                                                         Reserved                                            Beds                                  Referrals                              Waiting > 10 Days*
                                                                                                                            Rooms                                                                                                                      > 30 Days**
GRAND TOTALS - ALL PIPs                                    1305          1204             44                28                18        11                132                  19                  151                     0                                 0
                                                                                                                                                                                                  6 DSH
1
    Beds Reserved - Beds held or endorsed to by the Health Care Placement Oversight Program (HCPOP) for a specific patient. The referral is either pending clinical acceptance by the PIP or the patient is pending transfer to the PIP.
2
    Beds Redlined - Beds are temporarily unavailable fpr patient placement due to repairs or single cell status (if a two-man cell).
3
  Medical Isolation Rooms - Rooms are required for licensing and physically differ from the other housing cells in the program, i.e., have showers or restricted sightlines into the cell, and are deemed inappropriate for everyday use.
4
  Pending Referrals - Includes all referrals received by the Mental Health Inpatient Referrals Unit (new inpatient referral, level of care transfers, least restrictive housing transfers) that are pending a clinical referral review, least restrictive housing
determination, HCPOP endorsement/bed vacancy, or inpatient program acceptance.
5
  Accepted Referrals - Includes all referrals that have been endorsed to a bed, have been accepted by the inpatient program, and are awaiting transfer.

*VPP Acute redline beds are due to maintenance and staffing issues.




Data Source: RIPA                                                                                                                                                                                                        CCHCS, Health Care Placement Oversight Program
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                     Exhibit C
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                                               CDCR Mental Health Crisis Bed
                                       Coleman Patient Census and Waitlist Report as of
                                                    September 30, 2019


                                                                                                                   Total Pending
CDCR MHCB                                                 Beds     Available   Total Pending
                     Bed Capacity         Census                                               Beds Assigned         Referrals
Programs                                                Redlined     Beds        Referrals
                                                                                                                    > 24 hours
Male Programs            433               317            24         92             11               11                  0
Female Programs          41                 27             1         13             2                2                   0
            Totals       474               344            25         105            13               13                  0




Data Source: HEART                                                                        CCHCS, Health Care Placement Oversight Program
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                     Exhibit D
                                                                                                                                            Monday, 9/30/2019
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                                                                                                                                                Time: 04:30 PM



                                PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 09/30/2019
                     Facility                               Bed Capacity                                        Beds Occupied
                                                          Male Acute Care Programs
                                        PIP-Vacaville             218              No Score:                                                     7
                                                                                   Level I:                                                      14
                                                                                   Level II:                                                     54
                                                                                   Level III:                                                    22
                                                                                   Level IV                                                      91
                                                                                   Total Census:                                                188
                                        PIP-Stockton              214              No Score:                                                     6
                                                                                   Level I:                                                      14
                                                                                   Level II:                                                     44
                                                                                   Level III:                                                    28
                                                                                   Level IV                                                     113
                                                                                   Total Census:                                                205
                                      DSH-Atascadero               0               No Score:                                                     0
                                                                                   Level I:                                                      0
                                                                                   Level II:                                                     0
                                                                                   Level III:                                                    0
                                                                                   Level IV                                                      0
                                                                                   Total Census:                                                 0
              Totals for Male Acute                              432                                                                            393
                                            Male Intermediate Care Facility (High Custody) Programs
                                        PIP-Stockton              300              No Score:                                                      4
                                                                                   Level I:                                                      13
                                                                                   Level II:                                                     44
                                                                                   Level III:                                                    34
                                                                                   Level IV                                                     192
                                                                                   Total Census:                                                287
                                                                                   Total out of LRH:                                            181
                                        PIP-Vacaville             94               No Score:                                                      3
                                                                                   Level I:                                                       3
                                                                                   Level II:                                                     18
                                                                                   Level III:                                                    16
                                                                                   Level IV                                                      49
                                                                                   Total Census:                                                 89
                                                                                   Total out of LRH:                                             62
                                 PIP-Vacaville Multi-             70               No Score:                                                      5
                                        person Cells
                                                                                   Level I:                                                      1
                                                                                   Level II:                                                     5
                                                                                   Level III:                                                    15
                                                                                   Level IV                                                      32
                                                                                   Total Census:                                                 58
                                                                                   Total out of LRH:                                             16




                                                                                                       CCHCS, Health Care Placement Oversight Program
Page 1 of 3                                                                                            Referrals to Inpatient Programs Application (RIPA)
                                                                                                                                          Monday, 9/30/2019
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                                                                                                                                              Time: 04:30 PM



                               PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 09/30/2019
                   Facility                                 Bed Capacity                                      Beds Occupied
                                  PIP-Salinas Valley            202              No Score:                                                     0
                                                                                 Level I:                                                      4
                                                                                 Level II:                                                     27
                                                                                 Level III:                                                    27
                                                                                 Level IV                                                     105
                                                                                 PC 1370:                                                      25
                                                                                 WIC 7301:                                                     3
                                                                                 Total Census:                                                191
                                                                                 Total out of LRH:                                            102
               PIP-Salinas Valley Multi-person Cells             44              No Score:                                                     0

                                                                                 Level I:                                                      1
                                                                                 Level II:                                                     7
                                                                                 Level III:                                                    7
                                                                                 Level IV                                                      27
                                                                                 PC 1370:                                                      0
                                                                                 WIC 7301:                                                     0
                                                                                 Total Census:                                                 42
                                                                                 Total out of LRH:                                            15
      Totals for Male ICF High Custody                          710                                                                           667
                                           Male Intermediate Care Facility (Low Custody) Programs
                               PIP-Vacaville Dorms               84              No Score:                                                     5
                                                                                 Level I:                                                      6
                                                                                 Level II:                                                     17
                                                                                 Level III:                                                    21
                                                                                 Level IV                                                      29
                                                                                 Total Census:                                                 78
                                                                                 Total out of LRH:                                            14
                                   DSH-Atascadero               256              No Score:                                                     0
                                                                                 Level I:                                                      26
                                                                                 Level II:                                                    112
                                                                                 Level III:                                                    42
                                                                                 Level IV                                                      42
                                                                                 Total Census:                                                222
                                      DSH-Coalinga               50              No Score:                                                     0
                                                                                 Level I:                                                      5
                                                                                 Level II:                                                     26
                                                                                 Level III:                                                    5
                                                                                 Level IV                                                      11
                                                                                 Total Census:                                                 47
      Totals for Male ICF Low Custody                           390                                                                           347




                                                                                                     CCHCS, Health Care Placement Oversight Program
Page 2 of 3                                                                                          Referrals to Inpatient Programs Application (RIPA)
                                                                                                                                          Monday, 9/30/2019
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                                                                                                                                              Time: 04:30 PM



                              PSYCHIATRIC INPATIENT PROGRAMS CENSUS REPORT AS OF 09/30/2019
                   Facility                               Bed Capacity                                        Beds Occupied
                                                        Male Condemned Program
                                  PIP-San Quentin               34               Total Census:                                                 31




                                                             Female Programs
                                       DSH-Patton               30               No Score:                                                     1
                                                                                 Level I:                                                      3
                                                                                 Level II:                                                     9
                                                                                 Level III:                                                    1
                                                                                 Level IV                                                      1
                                                                                 Total Census:                                                 15
               PIP-California Institution for Women             45               No Score:                                                     7

                                                                                 Level I:                                                      1
                                                                                 Level II:                                                     6
                                                                                 Level III:                                                    4
                                                                                 Level IV                                                      17
                                                                                 Total Census:                                                 35
                                                                                 Total out of LRH:                                             2
         Totals for Female ICF/Acute                             75                                                                            50
                                       Total Inpatient Program Capacity and Census - Male and Female
               GRAND TOTALS                                    1641                                                                          1488




                                                                                                     CCHCS, Health Care Placement Oversight Program
Page 3 of 3                                                                                          Referrals to Inpatient Programs Application (RIPA)
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                      Exhibit E
                               Case 2:90-cv-00520-KJM-DB Document 6342 Filed 10/15/19 Page 15 of 18

                                                 CDCR INPATIENT PROGRAM REFERRALS:
                            COMPLIANCE WITH PROGRAM GUIDE TIMEFRAMES FOR ACUTE AND INTERMEDIATE REFERRALS
                                                ADMITTED OR CLOSED IN SEPTEMBER 2019

                                                      Patients        Patients     Referrals Resulting
                                                                                                        Exceptions to     Number of   Total Days
      CDCR IDTT                   Total           Admitted Within Admitted Outside     in Rescind,
                                                                                                       Program Guide Referrals Out      Out of
     Referral Type              Referrals          Program Guide Program Guide        Rejection, or                 [2]
                                                                                                       Timeframes       of Compliance Compliance
                                                   Timeframes [1]   Timeframes      Parole/Discharge

  Intermediate (ICF)               237                   224                   0                   13                   0                  0                0
     Acute (APP)                   185                   179                   0                    6                   0                  0                0
       TOTALS                      422                   403                   0                   19                   0                  0                0



[1] Program Guide timeframes: Transfer within 30 days of referral for ICF, or within 10 days of referral for APP. Timeline begins when the completed referral is
received by the Mental Health Inpatient Referrals Unit (MH IRU); or if accepted at a Department of State Hospitals (DSH) program, upon DSH acceptance.
[2] Exceptions to the Program Guide timeframes in this report include: medical concerns and those referred that are on out-to-court status, out-to-hospital status,
and/or on medical or Vitek holds.




Data Source: Referrals to Inpatient Programs Application (RIPA)                                                   CCHCS, Health Care Placement Oversight Program
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                      Exhibit F
State of California                                                                                                                                                                                                      GAVIN NEWSOM, Governor
                                  Case 2:90-cv-00520-KJM-DB
DIVISION OF HOSPITAL STRATEGIC PLANNING AND IMPLEMENTATION  Document 6342 Filed 10/15/19 Page 17 of 18
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                                  DSH Psychiatric Inpatient Timelines Compliance Report
                                                          Patients Admitted September 1 through September 30, 2019 Who Waited Beyond Program Guide Timelines


                                     Level of Care                                          Patients Waiting Outside Program Guide Timelines3                               Days Waited Outside Program Guide Timelines4

                              Intermediate Care Admissions                                                             0                                                                             0
                                        Subtotal                                                                       0                                                                             0
                                                                             1
     Exceptions to Program Guide Timelines - OTC, OTH, and Medical Holds                                               0                                                                             0
               Exceptions to Program Guide Timelines - Internal Referrals2                                             0                                                                             0
               Total Excluding Exceptions to Program Guide Timelines                                                   0                                                                             0

1
 Includes exceptions to the Program Guide timelines for referrals on hold for patients with out-to-court status, out-to-hospital status, and medical holds.
2
 Includes exceptions to the Program Guide timelines for CDCR patients currently receiving inpatient treatment within a DSH program and have been referred for internal movement within DSH (e.g., transfer to LRH, level of care transfers).
3
 Includes patients admitted in September 2019 who waited greater than 30 days from the DSH referral received date.
4
 Includes the total number of days patients admitted in September 2019 waited beyond 30 days from the DSH referral received date.




Source: BUMMs                                                                                                      1 of 2
State of California                                                                                                                                                                GAVIN NEWSOM, Governor

                                     Case
DIVISION OF HOSPITAL STRATEGIC PLANNING AND2:90-cv-00520-KJM-DB
                                           IMPLEMENTATION                                Document 6342 Filed 10/15/19 Page 18 of 18
Patient Management Unit
1600 Ninth Street, Room 420
Sacramento, CA 95814




                                                                          DSH Psychiatric Inpatient Timelines Compliance Report
                                                  Patients Admitted September 1 through September 30, 2019 Who Waited Beyond Program Guide Timelines
Patients Admitted to Intermediate Care
                                                                                      Number of Days
                                                                                                                                              Total Days Waited
                                                   CDCR Direct/       Total Days on       Waited
                      Name               CDCR #                                                         Total Days on Hold   Exclusion Days       Excluding       Exception Reason(s)
                                                   DSH Internal          Waitlist     Beyond Program
                                                                                                                                                 Exceptions
                                                                                      Guide Timelines
                       -                   -              -                 -                -                  -                  -                  -                    -
  Total Number of Patients Waiting                Total Number of
                                           0                               0                0                   0                  0                 0                     -
           Over 30 Days                           Days All Patients




Source: BUMMs                                                                                      2 of 2
